         Case 1:11-cv-01288-JSR Document 196 Filed 01/31/13 Page 1 of 12



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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

--------------------------------------------------------------   x
MARSHALL W. COLLI NS , GARY
DANNENBERG, THEODORE M. KOL ER, AND
ELMER WALKER, Individually and on Bchalf of
All Others Similarly Situated
                                                                     II Civ. 1288 (.ISR)
              Pl aintiffs,

              -v-

OILSANDS QUEST IN C. (flk/a CAN WEST
PI, TROLEUM COR PORATION),
CHRISTOPIIER I-I HOPKINS. T. MURRAY
WILSON, KARIM I-IIRJI , GARTH WONG ,
RONALD PHILLIPS, THOMAS MILNE,
GO RDON TAL LMAN, WILLIAM SCOTT
THOMPSON. PAMELA WALLIN , JOI-IN READ,
AND MCDANi e L & ASSOCIATES
CONSULTI NGS LTD.,

              Defendants.

--------------------------------------------------------------   x

In Fe:                                                               Chapter IS

OILSANDS QUEST IN C., el aI. ,                                       12-10476

              Applicants in foreign Procecd ings.                    (Jointl y Adm inistcred)

--------------------------------------------------------------   x

                                         AFFIDAVIT OF SERVICE
        Case 1:11-cv-01288-JSR Document 196 Filed 01/31/13 Page 2 of 12

STATE    or NEW YORK:
                                      : SS
CITY OF NEW YORK:

                 Melissa Gabricllini . being duly sworn, deposes and says:

                 I am over the age of eighteen years. am not a party to the action. and resicIe in the

County of Richmond, State of New York. On January 29, 20 I 3. I caused true and correct copies

of the No/ice   0/ Filing 0/ /he Thirleel7lh Repor/ 0/ /he /vIoni/or of /he Oi/sand.1 Group in /he
Canadian Proceedings , with its accompanying exhibit, and the No/ice            0/ Fi/ing 0/ /he Firs/
lIepor/ o/ /he Receiver in /he Canadian Proceedings, with its accompanying exhibit to be served

vi a lirst class mail to the persons on the service list attached hereto as Exhibit A.

                                                              'VC,G-lWg[ C~
                                                        Melissa G<fbricllini
                    this   1, sfa y




               KURT R. VELLEK
       Notary Public, State of New YOrk
               No.01VE4943090
         Quafitied In Putnam County
      Cerbficate filed In New Yorl< County
      Commlss'o" 8<plres Oct. 17, 20~
Case 1:11-cv-01288-JSR Document 196 Filed 01/31/13 Page 3 of 12



                         EXHIBIT A
                Case 1:11-cv-01288-JSR Document 196 Filed 01/31/13 Page 4 of 12

                                        SERVICE LIST


Beth Ann Kaswan
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                                                   New York. NY 100 19




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David Neil Cinotti                                 .lcnnifer Michelle Osgood
Julia Lucia Dav is                                 l3urns, Figa & Will . I'.e.
Andrew Flagg I3rin Diamond                         6400 South Fiddlers Green Ci rcle
Venable I.LI'                                      Plaza Tower One
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               Case 1:11-cv-01288-JSR Document 196 Filed 01/31/13 Page 5 of 12



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Patrick M, Groom                                  Thomas p, Johnson
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11760                                             1550 17th Street
Greeley. CO 80631                                 1i500
                                                  Denver, CO 80202




Andrew Ryan Shoemaker                             Kip B, Sh uman
Shoemaker Ghiselli & Schwartz, LLC                Rusty E, Glenn
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                                                  Boulder, CO 80302




About Stafling                                    Accurate Stamp & Seal
215 12th Ave nue SE                               4710 1st St ree t SW
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                Case 1:11-cv-01288-JSR Document 196 Filed 01/31/13 Page 6 of 12




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PO Box 4 I 6423                                    Calgary T2R OA2
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Continental Imaging Products
                                                   Box 12. 3rd Floor, 214 Placc
1703 lOA venuc SW
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Calgary T3C 0138
                                                   Calgary T8V 2V4
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Mountain f'rcsh Canada Ltd.                        National Public Rclations Inc.
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Pi tncy Bowcs                                      Pi tneyworks
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Orangcvillc 1.9W 2Z6                               Orangeville L9W 27.7
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                 Case 1:11-cv-01288-JSR Document 196 Filed 01/31/13 Page 7 of 12




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Ca lgary T2 1' 2V I                                 Scarborough MIl' 5H9
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Ca nada                                             Ca nada




TO Sccuriti es Inc.
                                                    Telus Mobi lity
800 Homc Oi I Tower
                                                    PO Box 8950 Stn Termina l
325 8th Avcnue SW
                                                    Vancouver V613 3C3
Ca lgary T2 1' 2Z2
                                                    BC
AB
                                                    Canada
Canada




Thc Coffee Conncction                               Thc Elite Fleet
1047 26th Street NE                                 36 15 Manchcster Rd SE
Calgary T2A 6K8                                     Ca lgary T2G 3Z7
AI3                                                 AB
Canada                                              Canada
               Case 1:11-cv-01288-JSR Document 196 Filed 01/31/13 Page 8 of 12




                                                  Minister or Finance
CRA
                                                  Province or Saskatachewan
9700 Jasper A venue
                                                  2350 Albert Street
Edmonton T5.J 4C8
A[3
                                                  Regina S4P 4A6
Canada
                                                  SK
                                                  Canada




Workers' Compensation Board of Alberta
                                                  Workers' Compensation Board or Saskatachewan
99 12 I07th Street
                                                  200 - 1881 Scarth Street
PO Box 2415
                                                  Regina S4P 4LI
Edmonton '1'21' 51--:9
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AXA I'acilic Insurance Company                    Ackland Grainger
220 - 12Th Ave SW, Suite# 500                     200-284 Macdonald Cresent
Calga ry T2 R OE9                                 Fort MacMurray '1'9114136
AB                                                AI3
Canada                                            Canada




Aggrcko Ca nada, Inc
                                                  Air Liquide Canada Inc.
P.O. Box 1569 Station A
                                                  10020 - 56th Avcnuc
Toronto M5W 3N9
                                                  Edmonton T6E 5Z2
ON                                                AI3
CA
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                 Case 1:11-cv-01288-JSR Document 196 Filed 01/31/13 Page 9 of 12




Bell                                                Black Pearl Resources Inc.
P.O. Box 3017, Station Terminal                     700,444 - 7 Avenue SW
Vancouver V6B 6LI                                   Calgary np OX8
I3C                                                 AB
C/\                                                 CA




Can-am Geomatics Corp.                              Gri zzly Oil Sands ULC
900, 340 - 12 /\ venue S. W.                        Suite 2700, 605 - 5th /\ ve S. W.
Calgary T2R I L5                                    Calgary T2P 3115
/\13                                                AI3
C/\                                                 CA




Ilurricane Industries Ltd.                          Information Services Co rporati on of Sask
1'.0. Box 2038                                      fi nance Dept, 300 10 Research Dri ve
Lloydminster S9V I R5                               Regina S4S 717
SK                                                  SK
CA                                                  CA




Innovati on Pl ace                                  Jardine Lloyd Thompson Canada
140 - 10 Research Drive                             400. 220 - 12 Avenue SW
Regina S4S 7.17                                     Ca lgary n R 0[9
SK                                                  AB
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               Case 1:11-cv-01288-JSR Document 196 Filed 01/31/13 Page 10 of 12




Maxxal11 Analytics                                     Methy Construction
PO Box 9549. Station M                                 1'0 Box 3 10
Calgary T2P 51.8                                       LA Loche SOM I GO
AI3                                                    SK
CA                                                     CA




McMurray Aviation                                      Mi ni ster of Finance, Province   or Alberta
Fort McMurray Airport Site I, Box 5, RR I              9915 -1 08 Street
Fort MacMurray "1'9 1-1 5B4                            Edmonton T5K 2G8
AI3                                                    AB
CA                                                     CA




NEC Contractors Ltd.                                   Network Inn ovations
1'.0. Box 2100                                         4424 Manilla Road SE
Lac La Bichc TOA 2CO                                   CALGARY T2G 4B7
AB                                                     AB
CA                                                     CA




Norberg Properties Ltd                                 Oillield Gu ida nce Inc.
Ola 27 th Avcnuc Vista 1,46 16 Valiant Drive NW        115 1935-27th Ave NE
Calgary T3A OX9                                        Ca lgary T2E 7E4
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               Case 1:11-cv-01288-JSR Document 196 Filed 01/31/13 Page 11 of 12




Sasktcl                                            SDC Construction Ltd
1'0 nux 212 I                                      P.O. Box 190
Regina S41' 4C5                                    11 a La Crosse SaM I CO
SK                                                 SK
CA                                                 CA




Silverbirch Energy Corporation                     Travers Food Service Ltd.
1000.350 7th Avcnuc SW                             9647- 45 Avenue
Calgary T2P 3N9                                    Edmonton TGE 5Z8
All                                                AB
CA                                                 CA




Saskatchcwan Energy & Resources                    Oilsands Quest Inc .
300 - 2 I 03 - 11th Avenue                         800, 1333 - 8th Steet SW
Regina S4P 3Z8                                     Calgary T2R I M6
SK                                                 AB
CA                                                 CA




1291329 Alberta Ltd.                               Township Petroleum Corporation
800, 1333 - 8th Steet SW                           800. 1333 - 8th Steet SW
Calga ry T2R I MG                                  Calgary T2R I M6
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CA                                                 CA




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                Case 1:11-cv-01288-JSR Document 196 Filed 01/31/13 Page 12 of 12




Worleyparsons MEG                                  The Northe rn Village of La Loche
540 - 12 Avenue S W                                PO Box 310
Calgary T2R 0114                                   La Loche SOM I GO
AB                                                 SK
CA                                                 CA




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New York, NY 10004




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